Case 1: 04- -c\/- -01280- .]DT- STA Document 13 Filed 08/02/05 Page 1 of 12 PagelD 13

WESTERN DIVISION
RAYMOND CLARK, ll
Plaintil`f, §
VS. § No. 04-1280-T/An
CORRECTIONS CORPORATION OF §
AMERICA, ET AL., §§
Defendants. §

 

ORDER OF DISMISSAL
ORDER DENYING APPOINTMENT OF COUNSEL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTlCE OF APPELLATE FILING FEE

 

Plaintiff Rayrnond Clark a/lr/a Raymond E. Clark, Tennessee Department of
Correction prisoner number 227052, an inmate at the Hardeman County Correctional
Facility (“HCCF”) in Whiteville, Tennessee, filed a complaint pursuant to 42 U.S.C. § l983
on October 25, 2004, along with a motion seeking appointment of counsel The Court
issued an order on November l, 2004 directing the plaintiff to file, Within thirty days, the
documentation required by the Prison Litigation Reform Act of 1995, 28 U.S.C.
§§ 191 5(a)-(b), or pay the civil filing fee. Plaintiff filed motions seeking leave to proceed
in forma pauperis on November 10, 2004 and November 12, 2004. He paid the civil filing

fee on November 23, 2004. In a separate order, the Court denied the in forma pauperis

This document entered on the docket sheet in compliance
with Rule 58 and,-'or_?Q (a) FRCP on

 

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Case 1:04-cv-01280-.]DT-STA Document 13 Filed 08/02/05 Page 2 of 12 Page|D 14

motions as moot and severed an amended complaint and two motions for a preliminary
injunction that were subsequently filed. On l\/Iarch 10, 2005, plaintiff filed a document
concerning his efforts to exhaust his administrative remedies.

The Clerk shall record the defendants as the Corrections Corporation of America
(“CCA”); HCCF Warden Glen Turner; HCCF Assistant Warden Joe Patterson; Grievance
Chairperson Nena Moss; DEC»TECH, Inc., a private corporation that has a contract to install
beds at the HCCF; Assistant Shift Supervisor Dewayne Williams; Health Administrator
Boyette; Nurse McKinnie; Nurse Gates; and Correctional Medical Services, Inc. (“CMS”).
l. Analvsis of Plaintiff`s Clairns

The complaint in this action consists of forty-one handwritten pages and more than
two inches of documents1 The plaintiff alleges that he weighs two hundred sixty pounds
and is medically disabled, suffering from high blood pressure, cirrhosis of the liver, gauch
[sic], treading [sic] hips, and knee and back problems Accordingly, a doctor at his previous
prison had directed that the plaintiff be assigned a bottom bunk on a lower floor. The
plaintiff was transferred to the HCCF on or about l\/[arch 28, 2003, at which time he was
assigned to a top bunk on an upper fioor. Upon his arrival, plaintiff allegedly informed

defendants McKinnie and Gates that he had a medical “AVO” for a lower floor and a bottom

 

l This complaint is largely duplicative of a case the plaintiff previously filed, Clark v. Corrections Cor___p.
ofAm., No. 04-1038-T/An (W.D. Tenn.), which was filed on March l, 2004 and dismissed on August 30, 2004
pursuant to 42 U.S.C. § l997e(a) and 28 U.S.C. § l9l$(e)(2)(B)(ii) and § l915A(b)(l). Judgment in that action
was entered on September 2, 2004 l-"laintiff filed a motion for relief from judgment on September 20, 2004, which
the Court denied in an order issued on February 20, 2005. Plaintiff did not appeall

2

Case 1:04-cv-01280-.]DT-STA Document 13 Filed 08/02/05 Page 3 of 12 Page|D 15

bunk, which was issued by a doctor at the West Tennessee State Penitentiary. He further
alleges that the accuracy of his statement could have been verified through a computer
check. McKinnie and Gates allegedly confirmed that an AVO had been issued but
apparently told him they did not have the power to change his housing assignment and that
he could wait to see the doctor. Plaintiff asked to have defendant Boyette called, but the
nurses refused to call their supervisor and told the plaintiff to leave. Plaintiff further alleges
he told defendant Williams that the nurses refused to honor his AVO, and Williams replied
that he did not have any bottom bunks available Williams also told the plaintiff that the fact
the nurses did not issue a medical AVO meant that plaintiff did not need one. Plaintiff asked
Williams to call defendant Turner, but Williams allegedly told plaintiff that he could sleep
in the bunk he was assigned or he would be written up and placed in the hole. Plaintiff
complied because he was hoping to be released on parole.

As plaintiff was attempting to climb onto the top bunk, the mattress allegedly slipped
off the frame and plaintiff fell against a metal locker, injuring his head. The plaintiff asserts
there are no steps or ladder to get up into the top bunk and nothing stable for an inmate to
grab onto to pull himself onto the bunk. Later, on March 30, 2003, plaintiff`s mattress
allegedly slipped off the frame, causing him to fall to the floor and “split[ting] his head wide
open,” which required stitches. Plaintiff further alleges that, even after he received an AVO
from the doctors at the HCCF, defendant Williams did not change his assignment to a lower

bunk.

Case 1:04-cv-01280-.]DT-STA Document 13 Filed 08/02/05 Page 4 of 12 Page|D 16

The plaintiff alleges that defendant TEC-TECH improperly installed the bunk beds
at the prison so that the mattress was not secured by a rim or lip. In addition, plaintiff
asserted the beds were installed upside down with the mounting bolts protruding into the
sleeping area. As a result, plaintiff had to place clothing on his bed so avoid injury from the
bolts, which left little room for him to lie down.

The plaintiff sues defendant Moss for improperly handling his grievances, and he
sues defendants Patterson and Turner for failing adequately to respond to his grievances and
to correct conditions that they allegedly knew existed. The plaintiff seeks declaratory relief
and compensatory and punitive damages2

The Court is required to screen prisoner complaints and to dismiss any complaint, or
any portion thereof, if the complaint_

(l) is frivolous, malicious, or fails to state a claim upon which relief
may be granted; or

(2) seeks monetary relief from a defendant who is immune from
such relief.

28 U.S.C. § 19`15A(b); see also 28 U.S.C. § 1915(e)(2)(B). Even claims that have not been

exhausted may be dismissed on the merits. 42 U.S.C. § 1997'e(c)(2).3 Plaintiff’s complaint

 

2 Although the first page of the complaint indicates that the plaintiff also seeks injunctive relief, the prayer

for relief contains no such request

3 The Court ordinariiy considers, as a threshold matter, whether the complaint adequately alleges that the
plaintiff has exhausted his administrative remedies, as required by 42 U.S.C. § l997e(a). ln this case, the plaintiff
has expended considerable effort attempting to demonstrate that various defendants have interfered with his
attempts to exhaust his administrative remedies. In the interest of judicial economy, the Court declines to parse
through those allegations, and the plethora of documents submitted by the plaintiff, because this action is subject to
dismissal on other grounds

Case 1:04-cv-01280-.]DT-STA Document 13 Filed 08/02/05 Page 5 of 12 Page|D 17

is subject to dismissal in its entirety.

First, as previously mentioned, plaintiff previously filed an action concerning the
failure to honor his medical AVO for a bottom bunk and the injury he suffered due to the
fall from his bed in March of 2003. Clark v. Corrections Corp. of Am., et al., No.
04-1038~T (W.D. Tenn.). The defendants in case no. 04-1038 included CCA, Warden
Turner, Shift Supervisor Williams, and Health Administrator Boyette. The dismissal order
in that action, which was issued on August 30, 2004, dismissed the Eighth Amendment
claim based on the failure to honor the plaintiff" s AVO, pursuant to 28 U.S.C.
§ 1915(e)(2)(B)(ii) and § 1915A(b)(1), for failure to state a claim on which relief may be
granted.

“A fundamental precept of common-law adjudication, embodied in the related
doctrines of collateral estoppel and res judicata, is that a ‘right, question or fact distinctly put
in issue and directly determined by a court of competent jurisdiction . . . cannot be disputed
in a subsequent suit between the same parties or their privies.”’ Montana v. United States,
440 U.S. 147, 153 (1979); see also Allen v. McCurrv, 449 U.S. 90, 94 (1980) (“Under res
judicata, a final judgment on the merits of an action precludes the parties or their privies
from relitigating issues that were or could have been raised in that action. . . . Under
collateral estoppel, once a court has decided an issue of fact or law necessary to its
judgment, that decision may preclude relitigation of the issue in a suit on a different cause

of action involving a party to the first case.”); In re Fordu, 201 F.3d 693, 702-03 (6th Cir.

Case 1:04-cv-01280-.]DT-STA Document 13 Filed 08/02/05 Page 6 of 12 Page|D 18

1999) (explaining that the doctrine of collateral estoppel is now referred to as “issue
preclusion” .

“Courts apply the doctrine of res judicata to promote the finality of judgments which
in turn increases certainty, discourages multiple litigation and conserves judicial resources.”
Sanders Confectionerv Prods., lnc. v. Heller Fin., Inc., 973 F.2d 474, 480 (6th Cir. 1992).

To apply the doctrine of resjadicata, or claim preclusion, four elements must be satisfied:

1. A final judgment on the merits in the first action by a court of
competent jurisdiction;

2. The second action involves the same parties, or their privies, as the
first;

3. The second action raises an issue actually litigated or which should
have been litigated in the first action;

4. An identity of the causes of action.

1n this case, the plaintiff is asserting an Eighth Amendment claim based on the failure
to honor his medical AVO. Defendants CCA, Turner, Williams, and Boyette were parties
to the first action in which that claim was asserted The Court rejected that claim on the
merits, and a final judgment to that effect was issued. lt would appear, therefore, that the
requirements for res judicata have been satisfied with respect to the claims against

defendants CCA, Turner, Wi]]iams, and Boyette.4

 

4 Two other issues must be considered in this context. First, case no. 04-1038 was dismissed pursuant to
this Court’s screening authority prior to service on the defendants Ordinarily, a dismissal pursuant to 28 U.S.C.
§ 1915(e), where the plaintiff is proceeding informer pauperis does not have a preclusive effect on a subsequent
paid complaint, Denton v. Hernandez, 504 U.S. 25, 34 (1992), although it may “have a res judicata effect on
frivolousness determinations for future informer pauperis petitions,” § Although the plaintiff paid the filing fee in
this case, his complaint is still subject to screening pursuant to 28 U.S.C. § 1915A. The Sixth Circuit has applied
res judicata to dismiss successive complaints filed by prisoners Smith v. Morgan, 75 Fed. Appx. 505, 506-07 (6th

6

Case 1:04-cv-01280-.]DT-STA Document 13 Filed 08/02/05 Page 7 of 12 Page|D 19

The plaintiff has also asserted his Eighth Amendment claim against defendants
McKinnie, Gates, and CMS, who were not parties to case no 04-1038. Those claims are
barred by collateral estoppel or issue preclusion.

The Sixth Circuit has established a four-part test for determining whether and
when collateral estoppel bars relitigation of an issue:

1) the precise issue raised in the present case must have been raised and
actually litigated in the prior proceeding;

2) determination of the issue must have been necessary to the outcome of the
prior proceeding;

3) the prior proceeding must have resulted in a final judgment on the merits;
and

4) the party against whom estoppel is sought must have had a full and fair
opportunity to litigate the issue in the prior proceedingl

United States v. Cinemark U.S.A.` lnc.. 348 F.Sd 569, 583 (6th Cir. 2003), certl denied, 124
S. Ct. 2905 (2004). Pursuant to this doctrine, “[a] final judgment on the merits of an action

precludes the parties or their privies from relitigating issues that were or could have been

 

Cir. Sept. 19, 2003); Taylor v. Reynolds, 22 Fed. Appx. 537 (6th Cir. Nov. 8,2001);Hi11v. Elting, 9 Fed. Appx.
321 (6th Cir. l'\/lay 7, 2001). Accordingly, plaintiffs Eighth Amendment claim against defendants CCA, Turner,
Williams, and Boyette is subject to dismissal on the basis of res judicata

Second, the factual allegations in this complaint are more detailed than those in case no. 04-1038, in an
apparent attempt to overcome the Court’s conclusion in the previous case that the allegations of the complaint were
insufficient to establish deliberate indifference However, plaintiff could have offered his additional factual
allegations in case no. 04-1038, either in his motion for reconsideration or on appeal The Sixth Circuit has, on
numerous occasions rejected similar arguments made by plaintiffs seeking to avoid application of resjudi'cota,
reasoning that any argument the plaintiff may have about procedural decisions made in the original lawsuit should
have been made in that case, either at the trial court level or on appeal See, e.g., Quality l'\/leasurement Co. v.
IPSOS S.A., 56 Fed. Appx. 639, 634 (6th Cir. Jan. 8, 2003) (“RSC is essentially arguing that it should get a new
trial simply because the first one was not fair. . . . The purpose of res judicata is to preclude exactly this sort of
case; parties cannot relitigate an issue or claim simply because they believe the court or jury reached an incorrect
result in the first case. The law provides finality to the parties by insisting they raise complaints about litigation
while the case is pending. RSC should have raised the issue of unfairness in the first action, and it may not do so
now.”); Watts v. Federal Express Corp., 53 Fed. Appx. 333 (6th Cir. Dec. 13, 2002), cert denied, 540 U.S. 1006
(2003); Rainev Bros. Constr. Co. v. Memphis & Shelbv County Bd. ofAdiustment, No. 97-589’/', 1999 WL 220123
(6th Cir. Apr. 5, 1999) (per curiam); Peg v. Croucher, No. 97-3033, 1998 WL 66151, at *4 (6th Cir. Aug. 31,
1998).

Case 1:04-cv-01280-.]DT-STA Document 13 Filed 08/02/05 Page 8 of 12 Page|D 20

raised in that action.” Federated Deot. Stores_ inc. v. l\/loitie, 452 U.S. 394, 398 (1981)
(emphasis added).

ln this case, the merits of the Eighth Amendment claim based on the failure to honor
the plaintiffs AVO were raised and actually litigated in case no. 04-1038, which concluded
with a final judgment on the merits The plaintiff chose not to challenge the Court’ s holding
that the complaint did not state an Eighth Amendment claim in his motion for
reconsideration, and he did not file an appeal Under these circumstances it is appropriate
to bar him from raising an Eighth Amendment claim arising out of the failure to honor his
medical AVO against any defendant in this action.

Second, a one-year statute of limitations is applicable to § 1983 actions in Tennessee.
Tenn. Code Ann. § 28-3-104(a); s_e§Wilson v. Garcia, 471 U.S. 261, 266-268 (1985); B_eLt
v. Tennessee, 796 F.2d 879 (6th Cir. 1986). The plaintiffwas transferred to the HCCF on
March 28, 2003, and he fell out of bed the night of March 29-30, 2003. The plaintiffs
complaint was signed on October 21 , 2004 and, even if it is assumed to have been filed on
that date, Houston v. Lack, 487 U.S. 266 (1988), it is plainly untimely For the same reason,
the claim against defendant DEC-TECH accrued on March 29-30, 2003, the date on which
the mattress slipped off the bed, and, therefore, that claim is also time barred.

Third, in order to state a § 1983 claim, plaintiff must allege action under color of state
law. West v. Atkins, 487 U.S. 42, 55-57 (1988). “A § 1983 plaintiff may not sue purely

private parties.” Brotherton v. Cleveland, 173 F.3d 552, 567 (6th Cir. 1999). Thus, “[i]n

Case 1:04-cv-01280-.]DT-STA Document 13 Filed 08/02/05 Page 9 of 12 Page|D 21

order to be subject to suit under § 1983 claim, defendant’s actions must be fairly attributable
to the state.” Collyer v. Darling, 98 F.3d 211, 231-32 (6th Cir. 1997). The complaint
provides no basis for state action in the conduct of defendant DEC-TECH, a private
corporation that provides goods to the State of Tennessee and its contractors5

Plaintiff also has no claim against defendants Moss, Patterson, or any other defendant
concerning the handling of his grievances Although 42 U.S.C. § 1997e(a) imposes a
statutory requirement that prisoners exhaust their administrative remedies before filing
lawsuits, misfeasance or malfeasance by prison officials in connection with the grievance
process is not grounds for an independent cause ofaction. S_ee_42 U.S.C. § l997e(b) (“The
failure of a State to adopt or adhere to an administrative grievance procedure shall not
constitute the basis for an action under section 1997a or 1997e of this title.”); @_a_l_s_o
Shehee v. Luttrell, 199 F.3d 295, 300 (6th Cir. 1999).

Accordingly, the Court DISMISSES the complaint in its entirety, pursuant to 28
U.S.C. § 1915A(b)(l), for failure to state a claim on which relief may be granted.
11. Appeal issues

The next issue to be addressed is whether plaintiff should be allowed to appeal this

decision in forma pauperis Twenty-eight U.S.C. § 191 5(a)(3) provides that an appeal may

 

5 DEC-TECH’s position in this action is fundamentally different than that of CCA and CMS, private
corporations that entered into contracts with the State of Tennessee to operate prisons and to provide medical
services to prisoners, respectivelyl CCA and CMS act under color of state law because they perform functions
traditionally performed by the state. Skelton v. Pri-Cor, lnc., 963 F.2d 100, 102 (6th Cir. 1991). By contrast,
DEC-TECH is one of numerous vendors who sell goods to the State.

9

Case 1:O4-cv-01280-.]DT-STA Document 13 Filed 08/02/05 Page 10 of 12 Page|D 22

not be taken in forma pauperis if the trial court certifies in writing that it is not taken in good
faith. The good faith standard is an objective one. CODDedge v. United States. 369 U.S.
43 8, 445 (1962). An appeal is not taken in good faith if the issue presented is frivolous Li
According]y, it would be inconsistent for a district court to determine that a complaint
should be dismissed prior to service on the defendants yet has sufficient merit to support an
appeal in forma pauperis See Williams v. Kullman. 722 F.2d 1048, 1050 n.l (2d Cir.
1983). The same considerations that lead the Court to dismiss this case also compel the
conclusion that an appeal would not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 191 5(a)(3), that any appeal in this
matter by plaintiff is not taken in good faith.

The final matter to be addressed is the assessment of a filing fee if plaintiff appeals
the dismissal of this case.6 In McGore v. Wrig_glesworth. 114 F.3d 601, 610-11 (6th Cir.
1997), the Sixth Circuit set out specific procedures for implementing the PLRA. Therefore,
the plaintiff is instructed that if he wishes to take advantage of the installment procedures

for paying the appellate filing fee, he must comply with the procedures set out in McGore

and § 1915(b).

 

6 Effective November l, 2003, the fee for docketing an appeal is 8250. §§ ludicial Conference Schedule
of Fees, 11 l, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917, a district court also charges a 55 fee.

10

Case 1:O4-cv-01280-.]DT-STA Document 13 Filed 08/02/05 Page 11 of 12 Page|D 23

For analysis under 28 U.S.C. § 191 S(g) of future filings, if any, by this plaintiff, this
is the second dismissal of one of his cases as frivolous or for failure to state a claim.7

rr ls so oRDERED this 2 /day ofAuguSt, 2005.

Q’ww/b-M

JAME{B D. ToDD
UNITED sTATEs DISTRICT JUDGE

 

7 As previously noted, §_e_e supra p. 2 n.l , plaintiffpreviously filed Clarl< v. Corrections Corp. of Am., No.
U4-1038-T/An (W.D. Tenn.), which was dismissed in part for failure to state a claim.

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Notice of Distribution

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227052

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Honorable J ames Todd
US DISTRICT COURT

